









Dismissed and Memorandum Opinion filed February 12, 2004









Dismissed and Memorandum Opinion filed February 12,
2004.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-03-01344-CR

____________

&nbsp;

JESUS OCHOA NAVARETTE,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
180th District Court

Harris County, Texas

Trial Court Cause No. 942,568

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp;
O P I N I O N

Appellant entered a guilty plea to aggravated sexual assault
of a child.&nbsp; In accordance with the terms
of a plea bargain agreement with the State, on November 10, 2003, the trial
court sentenced appellant to confinement for five years in the Institutional
Division of the Texas Department of Criminal Justice.&nbsp; Appellant filed a pro se notice of
appeal.&nbsp; Because appellant has no right
to appeal, we dismiss.&nbsp; 








The trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp; The trial court=s certification is included in the
record on appeal.&nbsp; See Tex. R. App. P. 25.2(d).

Accordingly, we dismiss the appeal.&nbsp; 

&nbsp;

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum
Opinion filed February 12, 2004.

Panel consists of Justice Yates,
Anderson, and Hudson.

Do Not Publish C Tex. R. App. P. 47.2(b).

&nbsp;





